              Case 3:08-cv-00722-EDL Document
               Case3:14-cv-00511-EDL          224 Filed02/03/14
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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                                 SAN FRANCISCO DIVISION
 3

 4   LORI GRAY, et al.,
                                                       Nos. 3:08-cv-00722-EDL & 3:14-cv-00511
 5                                 Plaintiffs,
 6   v.
 7                                                     [PROPOSED] CONSOLIDATION ORDER
     GOLDEN GATE NATIONAL
 8   RECREATION AREA, et al.,

 9                                 Defendants.
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12          Upon the joint motion of both parties, the Court GRANTS the Joint Motion To

13   Consolidate for Settlement Purposes. The cases Gray v. Golden Gate National Recreation Area,

14   No. 3:08-cv-00722-EDL, and Gray v. Golden Gate National Recreation Area, No. 3:14-cv-

15   00511, are hereby consolidated under this Court’s jurisdiction solely for purposes of settlement.

16          IT IS SO ORDERED.

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18          Dated: Feb. 4          , 2014

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                                                      ELIZABETH D. LAPORTE
20                                                    United States Magistrate Judge

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                    Consolidation Order – Nos. 3:08-cv-00722-EDL & 3:14-cv-00511
